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11    COUNTY OF LOS ANGELES, et.al.
12
                           UNITED STATES DISTRICT COURT
13

14                       CENTRAL DISTRICT OF CALIFORNIA
15    DONNELLE WEAR,                  )           CASE NO.: 8:20-cv-00459- JVS-DFM
16                                    )
                                      )           DEFENDANT COUNTY OF LOS
17                      Plaintiff,    )           ANGELES’ NOTICE OF MOTION
18                                    )           AND MOTION TO DISMISS
      vs.                             )           PLAINTIFF’S COMPLAINT FOR
19
                                      )           DAMAGES; MEMORANDUM OF
20    COUNTY OF LOS ANGELES, a public )           POINTS AND AUTHORITIES;
      entity, and DOES 1 through 10,  )           DECLARATION OF ANTONIO
21
                                      )           KIZZIE IN SUPPORT THEREOF
22                                    )
                        Defendants.   )           Hearing Date:       June 15, 2020
23
                                      )           Time:               1:30 p.m.
24                                    )           Courtroom:          10C
                                      )
25
                                      )           [Proposed order filed concurrently]
26                                    )
                                      )           Complaint Filed: March 6, 2020
27

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       DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S
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 1          TO THE COURT, PLAINTIFF AND HER ATTORNEYS OF
 2    RECORD:
 3          PLEASE TAKE NOTICE that on Monday, June 15, 2020 at 1:30 p.m.,
 4    before the Honorable Judge James V. Selna in Courtroom 10C in the United
 5    States District Court for the Central District of California located at 411 West 4th
 6    Street, Santa Ana, CA 92701, Defendant County of Los Angeles (“County” or
 7    “Defendant”) will and hereby does move this Court to dismiss Plaintiff
 8    DONNELLE WEAR’s (hereinafter "PLAINTIFF") Complaint for Damages
 9    (“Complaint”) in its entirety or, in the alternative, Plaintiff’s First and/or Second
10    cause of action.
11          The instant motion is made on the following grounds:
12          1.      Plaintiff fails to state facts sufficient to allege a first cause of action
13    for substantive due process violation/deprivation of familial relations (42 U.S.C. §
14    1983) because there are no facts sufficient to allege that Defendant Los Angeles
15    County Sheriff’s Department acted in a manner sufficient to “shock the
16    conscience,” and the use of force was objectively reasonable/de minimus and
17    reasonable suspicion existed for use of the minimal force by Defendant Los
18
      Angeles County Sheriff’s Department deputies to assist U.S. Post Office Police
19
      Officers to handcuff Decedent to detain or potentially arrest him.
20
            2.      Plaintiff fails to state facts sufficient to allege a second cause of action
21
      for Monell/municipal liability-policy, practice, custom (42 U.S.C. § 1983) because
22
      Plaintiff fails to state sufficient facts of the content or specific nature of the
23
      County’s allegedly inadequate trainings, customs or policies that allegedly caused
24
      Plaintiff’s constitutional violations. Plaintiff also fails to state facts sufficient to
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      allege that the County’s inadequate training, customs or policies were the “moving
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      force” behind the specific Defendants’ acts that caused Plaintiff’s constitutional
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      violations.
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 1                             CONFERENCE OF COUNSEL
 2          This motion is made following the meet and confer conferences of counsel
 3    pursuant to L.R. 7-3 which took place telephonically on May 7, 2020 due to the
 4    distance between counsel’s offices and COVID-19 pandemic. Plaintiff declined to
 5    voluntarily amend the Complaint during meet and confer efforts. Plaintiff will
 6    oppose this motion.
 7

 8    Dated: May 14, 2020                    IVIE McNEILL WYATT
                                             PURCELL & DIGGS
 9
                                       By:   ____/s/ Antonio K. Kizzie______________
10
                                             RICKEY IVIE
11                                           ANTONIO K. KIZZIE
12
                                             JACK F. ALTURA
                                             Attorneys for Defendants,
13                                           COUNTY OF LOS ANGELES, et. al.
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       DEFENDANT COUNTY OF LOS ANGELES’ NOTICE OF MOTION AND MOTION TO DISMISS PLAINTIFF’S
                                     COMPLAINT FOR DAMAGES
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 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2    I.    INTRODUCTION
 3          This case arises out of an incident that occurred on December 7, 2018 at the
 4    United State Post Office located at 7101 South Central Ave. in Los Angeles, CA.
 5    The incident involved Mr. Joseph Alan Wear (“Mr. Wear” “Decedent”), United
 6    States Post Office police officers (“U.S. Post Office Officers”), Los Angeles Police
 7    Department Officers (“LAPD”) and Los Angeles County Sheriff’s Department
 8    deputies (“Defendants”), who were all summoned due to Mr. Wear’s undisputed
 9    erratic and aggressive behavior with members of the public. Defendants’ only
10    alleged involvement was physically assisting U.S. Post Office Officers to
11    handcuff/restrain Mr. Wear after they witnessed Mr. Wear struggling with the U.S.
12    Post Office Officers as they drove by.
13          During or immediately after the handcuffing, Mr. Wear became
14    unresponsive, at which point Defendants engaged in life-saving measures,
15    including CPR and mouth to mouth resuscitation, until Los Angeles County Fire
16    Department paramedics arrived and transported Mr. Wear to Harbor UCLA
17    Hospital, where he later died. On December 17, 2018, Los Angeles County
18
      Coroner Department Deputy Medical Examiner Matthew D. Miller, MD
19
      determined that Mr. Wear died of “methamphetamine toxicity.”1 Exhibit A.
20
            On or about December 17, 2019 in the related action, Plaintiff I.C.W.,
21
      Decedent’s daughter, by and through her guardian ad litem, HEATHER
22

23    1
        On May 7, 2020, Defendant’s counsel met and conferred with Plaintiff’s counsel
24    regarding the potential for FRCP Rule 11 sanctions liability should Plaintiff upon
      receipt of the autopsy decide to knowingly and falsely allege that Defendant
25
      caused Mr. Wear’s death. In order to avoid such, this Court should, at a minimum,
26    order Plaintiff or Plaintiff’s counsel aside from this motion to state their valid,
      factual bases for alleging that Mr. Wear’s death was caused by Defendants when
27
      the autopsy report clearly found Mr. Wear’s death to be caused by
28    methamphetamine toxicity.
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      ______________________________________________________________________________
        DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS PLAINTIFF’S
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 1   BLANCHARD’s (hereinafter "I.C.W.") filed a Complaint for Damages
 2   (“Complaint”) in this United State’s District Court alleging eleven (11) causes of
 3   action against Defendants “County of Los Angeles, and DOES 1 through 10,
 4   Inclusive.” See generally - I.C.W. Case 8:19-cv-02438-JVS-DFM Dkt. 1
 5   Complaint for Damages. In the I.C.W. matter, Defendants filed a Motion to
 6   Dismiss Plaintiff’s Complaint for Damages, which the Court granted in full with
 7   thirty (30) days leave to amend. See generally - I.C.W. Case 8:19-cv-02438-JVS-
 8   DFM Dkt 21 and 22.
 9         Similarly, the instant motion respectfully seeks to move this Court for an
10   order dismissing all of Plaintiff’s causes of action against Defendants COLA and
11   DOES 1 through 10 because, even taking Plaintiff’s factual allegations as true,
12   reasonable suspicion existed for use of the minimal force by Defendant Los
13   Angeles County Sheriff’s Department deputies to assist U.S. Post Office Police
14   Officers to handcuff Decedent to detain or potentially arrest him, and such was
15   objectively reasonable or de minimus under the totality of the circumstances.
16         Further, there are no facts sufficient to allege that Defendant Los Angeles
17   County Sheriff’s Department deputies acted in an egregious manner sufficient to
18
     “shock the conscience” or with specific intent to violate Mr. Wear’s rights. Further,
19
     Plaintiff fails to state facts sufficient to allege a second cause of action for
20
     Monell/municipal liability-policy, practice, custom (42 U.S.C. § 1983) because
21
     Plaintiff fails to state sufficient facts of the content or specific nature of the
22
     County’s allegedly inadequate trainings, customs or policies that allegedly caused
23
     Plaintiff’s constitutional violations. Plaintiff also fails to state facts sufficient to
24
     allege that the County’s inadequate training, customs or policies were the “moving
25
     force” behind the specific Defendants’ acts that caused Plaintiff’s constitutional
26
     violations. Plaintiff simply reiterates sporadic past misconduct by uninvolved
27
     persons under different facts and circumstances and relies entirely on hearsay
28
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       DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS PLAINTIFF’S
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 1   newspaper or magazine articles.
 2          Plaintiff declined to voluntarily amend the Complaint during meet and
 3   confer efforts. For the foregoing reasons and although Defendant is aware that this
 4   Court generally disfavors motions to dismiss, Defendant respectfully requests that
 5   the Court consider and grant this motion in its entirety.
 6   II.    CONFERENCE OF COUNSEL
 7          This motion is made following the meet and confer conferences of counsel
 8   pursuant to L.R. 7-3, which took place telephonically on May 7, 2020. Exhibit B-
 9   [Kizzie Decl. ¶ 5]. Plaintiff refused to amend the Complaint, and will oppose the
10   instant motion. [Kizzie Decl. ¶ 5]
11   III.   STANDARD FOR A 12(b)(6) MOTION TO DISMISS
12          A complaint shall be dismissed when it fails to state a claim upon which
13   relief can be granted. Fed. R. Civ. P. 12(b) (6). A Rule 12(b)(6) motion challenges
14   the sufficiency of the pleadings set forth in the complaint. Hana Fin., Inc. v. Hana
15   Bank, 500 F.Supp. 2d 1228, 1232 (C.D. Cal. 2007). In order to survive a motion to
16   dismiss, a complaint must contain factual allegations that do more than invite mere
17   speculation. Id.
18
            While the Court must accept as true all material factual allegations, the
19
     Court does not accept “unreasonable inferences or conclusory legal allegations cast
20
     in the form of factual allegations.” Estate of Migliaccio v. Midland Nat’l Life Ins.
21
     Co., 436 F.Supp. 2d 1095, 1098 (2006). Mere “labels and conclusions” or
22
     “formulaic recitation(s) of the elements of a cause of action” will not suffice to
23
     overcome a motion to dismiss. Id. Conclusory allegations of law and unwarranted
24
     inferences will not save a complaint from an otherwise proper motion to dismiss.
25
     Vasquez v. Los Angeles (“LA”) County, 487 F.3d 1246, 1249 (9th Cir. 2007).
26
            Dismissal is proper where there is either “a lack of a cognizable legal theory
27
     or the absence of sufficient facts alleged under a cognizable legal theory.”
28
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       DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS PLAINTIFF’S
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 1   Balistreri v. Pac. Police Dept., 901 F.2d 696, 699 (9th Cir. 1991). Allegations must
 2   be sufficient to “give fair notice and to enable the opposing party to defend itself
 3   effectively.” Starr v. Baca, 652 F.3d 1202, 1216 (9th Cir. 2011). A court can
 4   dismiss claims without granting leave to amend if amending the complaint would
 5   be futile. Vasquez v. Cnty. of Los Angeles, 487 F.3d 1246, 1258 (9th Cir. 2007).
 6         To survive a 12(b)(6) motion, a complaint’s factual allegations (disregarding
 7   conclusory statements), must possess enough heft to raise a right to relief above the
 8   speculative level and show that under the law the plaintiff is entitled to relief.
 9   Atlantic Corp. v. Twombly, 550 U.S. 544, 555-557, 127 S. Ct. 1955,167 L. Ed. 2d
10   929 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678-682, 129 S. Ct. 1937, 173 L. Ed.
11   2d 868 (2009).
12         These pleading standards apply to claims of municipal liability for
13   Constitutional right violations under Monell v. Dep't of Soc. Servs., 436 U.S. 658,
14   691, 98 S.Ct. 2018, 56 L.Ed.2d 611 (1978). A.E. ex rel. Hernandez v. Cty. of
15   Tulare, 666 F.3d 631, 637 (9th Cir. 2012). To be entitled to the presumption of
16   truth, the complaint’s Monell allegations may not simply recite the elements of the
17   particular Monell theory, but must contain sufficient allegations of relevant
18
     underlying facts to give fair notice and to enable the municipality to defend itself
19
     effectively. Ibid. And the factual allegations that are taken as true must plausibly
20
     suggest an entitlement to relief, such that it is not unfair to require the municipality
21
     to be subjected to the expense of discovery and continued litigation. Ibid.
22
     IV.   ARGUMENT
23
           In sum, Plaintiff’s allegations, even taken as true, show that the Defendant
24
     deputies had reasonable suspicion to detain and possibly arrest Mr. Wear. Further,
25
     the use of force to assist U.S. Postal Office Police Officers to handcuff Mr. Wear
26
     was objectively reasonable under the circumstances and de minimus.
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       DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS PLAINTIFF’S
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 1   A.    STATEMENT OF RELEVANT FACTUAL ALLEGATIONS
 2         Here and relevant to the instant motion, Plaintiff alleges the following facts
 3   taken as true:
 4         “On the afternoon of December 7, 2018, Decedent Joseph Alan Wear,
 5   entered the United States Post Office located at 7101 South Central Ave. in Los
 6   Angeles, CA.” Exhibit C- Dkt. 1 Complaint ¶ 11.
 7         “Plaintiff is informed and believes and thereon alleges that when
 8   DECEDENT entered the Post Office, he was carrying his skateboard and gave a
 9   postal clerk a taser and can of pepper spray.’” Exhibit C- Dkt. 1 Complaint ¶ 12.
10         “Then, DECEDENT said something to the effect of “Help, they're after me.
11   I need help. Can I use the phone?” Exhibit C- Dkt. 1 Complaint ¶ 12.
12         “DECEDENT was apparently delusional and in an agitated state of mind.”
13   Exhibit C- Dkt. 1 Complaint ¶ 12.
14         “DECEDENT ran out of the Post Office and was followed by two U.S.
15   Postal Service Inspectors/ Police Officers/ Security Officers.” Exhibit C- Dkt. 1
16   Complaint ¶ 14.
17         “DECEDENT ran around the area near/ at the Post Office.” Exhibit C- Dkt.
18
     1 Complaint ¶ 15.
19
           “DECEDENT then climbed up a tree and jumped down.” Exhibit C- Dkt. 1
20
     Complaint ¶ 15.
21
           “After jumping out of the tree, DECEDENT ran across the streets while
22
     engaging pedestrian traffic.” Exhibit C- Dkt. 1 Complaint ¶ 15.
23
           “DECEDENT was in obvious need of medical intervention and attention.”
24
     Exhibit C- Dkt. 1 Complaint ¶ 16.
25
           “One or more civilians and one or more Postal Service Inspectors/ Police
26
     Officers/ Security Officers were in the process of restraining DECEDENT, when a
27
     presently unidentified LASD deputy sheriff(s), DOES 1-10, inclusive, was/were
28
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 1   driving by the subject incident,” Exhibit C- Dkt. 1 Complaint ¶ 17.
 2         “On information and belief, LASD deputies, DOES 1-10, failed to exercise
 3   ordinary care when restraining DECEDENT, and used unreasonable and excessive
 4   force upon him, including lethal restraints that resulted in his death.” Exhibit C-
 5   Dkt. 1 Complaint ¶ 18 2
 6         “The actions of LASD deputy sheriffs, DOES 1-10, inclusive, caused
 7   DECEDENT to suffer and sustain a cardiac arrest, resulting in his death.” Exhibit
 8   C- Dkt. 1 Complaint ¶ 193
 9   B.    PLAINTIFF’S FIRST CAUSE OF ACTION FAILS BECAUSE
10         REASONABLE SUSPICION/PROBABLE CAUSE EXISTED TO
           DETAIN/ARREST PLAINTIFF AND THE FORCE DEFENDANT
11         DEPUTIES USED WAS OBJECTIVELY REASONABLE AND DE
12         MINIMUS UNDER THE TOTALITY OF THE CIRCUMSTANCES
13         Plaintiff alleges a first cause of action for substantive due process

14   violation/deprivation of familial relations (42 U.S.C. § 1983). See generally

15   Exhibit C- Dkt. 1 Complaint for Damages.

16   1.    STANDARD FOR SUBSTANTIVE DUE PROCESS
           VIOLATION/DEPRIVATION OF FAMILIAL RELATIONS
17

18         To state a substantive due process claim, plaintiffs must allege ultimate facts
19   establishing: (1) they were deprived of a fundamental liberty interest; and (2)
20   defendants' actions were so “clearly arbitrary and unreasonable, having no
21   substantial relation to the public health, safety, morals, or general welfare,” and “so
22

23   It should be noted that the only force Plaintiff alleges Defendant Sheriff’s
     2


   deputies used is vaguely assisting the U.S. Postal Officers to restrain Mr. Wear,
24 obviously through the use of handcuffs as there is no such thing as “lethal

25 restraints.” The mere phrasing of handcuffs as “lethal restraints” should not impact
   the Court’s analysis that the only specific force alleged is handcuffs.
26
     3
    Paragraphs 18 and 19 are clearly legal and medical conclusions that the Court
27
   does not accept as true, but are simply added for context regarding Plaintiff’s
28 allegations.
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 1   egregious, so outrageous, that it may fairly be said to shock the contemporary
 2   conscience.” Cnty. of Sacramento v. Lewis, 523 U.S. 833, 847 n.8 (1998); FDIC v.
 3   Henderson, 940 F.2d 465, 474 (9th Cir. 1991); Mullins v. Oregon, 57 F.3d 789,
 4   793 (9th Cir. 1995). (Emphasis added.)
 5         Both prongs must be met. Pagan v. Calderon, 448 F.3d 16, 32 (1st Cir.
 6   2006. Accordingly, “[e]stablishing a substantive due process violation is difficult.”
 7   Lumbreras v. Roberts, 319 F. Supp. 2d 1191, 1211 (D. Or. 2004). Moreover, “[i]t
 8   is well settled that negligence is not sufficient to shock the conscience,” and that “a
 9   plaintiff must do more than show that the government actor intentionally or
10   recklessly caused injury to the plaintiff by abusing or misusing government
11   power.” Camuglia v. City of Albuquerque, 448 F.3d 1214, 1222 (10th Cir. 2006)
12   (quoting Moore v. Guthrie, 438 F.3d 1036, 1040 (10th Cir. 2006)).
13   2.    ANALYSIS
14         Here, the above-mentioned alleged facts of the Complaint, even taken as
15   true, show that the Defendant Sheriff’s deputies possessed reasonable suspicion to
16   assist U.S Post Office Police Officers to detain Mr. Wear and were objectively
17   reasonable to assist the U.S Post Office Police Officers to, at a minimum, handcuff
18
     Mr. Wear due to his erratic behavior.
19
           Plaintiff’s complaint concedes that Mr. Wear entered a U.S. Post Office,
20
     gave a postal clerk a taser and can of pepper spray, acted erratically running
21
     “across streets” and “engaging pedestrian traffic,” was in “obvious need” of
22
     “medical intervention and attention,” and that the Defendant Sheriff’s deputies
23
     were “driving by” when they saw U.S. Postal Service Inspectors/ Post Office
24
     Police Officers “in the process of restraining plaintiff’s decedent.” See Exhibit C-
25
     Dkt. 1 Complaint ¶ 12-15.
26
           Here, no reasonable officer would have merely kept driving by leaving the
27
     U.S. Postal Police Officers to fend for themselves against a struggling suspect. The
28
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 1   Supreme Court has held “[i]f an officer has probable cause to believe that an
 2   individual has committed even a very minor criminal offense..., he may, without
 3   violating the Fourth Amendment, arrest the offender.” Atwater v. City of Lago
 4   Vista, 532 U.S. 318, 354 (2001). The right to employ “some degree of physical
 5   coercion or threat thereof” to effect an arrest accompanies the right to make the
 6   arrest or investigatory stop. Graham, 490 U.S. at 396 (1989).
 7         Here and even taking Plaintiff’s allegations at true, the Defendant Sheriff’s
 8   deputies, at a minimum, had reasonable suspicion to detain Mr. Wear and the
 9   lawful duty to use force to effectuate such based on “a particularized and objective
10   basis for suspecting the particular person stopped of criminal activity,” specifically
11   seeing U.S. Post Office Police “in the process of restraining” Mr. Wear, which
12   could constitute Cal. Penal Code § 647 (disorderly) based on Mr. Wear’s prior
13   conduct and/or a violation of Cal. Penal Code § 69 or 148 (resist, obstruct, delay a
14   police officer), not including any other information about a potential crime the
15   officers tell the deputies. See Exhibit C- Dkt. 1 Complaint ¶ 10-15.
16         “Reasonable suspicion requires only “a minimal level of objective
17   justification.” Illinois, 528 U.S. at 123 (2000) Further, it is well-established that,
18
     (“...[A] police officer is entitled to rely on information obtained from fellow law
19
     enforcement officers...” Motley v. Parks 383 F.3d 1058, 1068 (9th Cir. 2004). It
20
     thus follows that the deputies had the right and lawful privilege to use reasonable
21
     force, in this case minimal force, to assist with the detention.
22
           Regarding Plaintiff’s first cause of action for substantive due process
23
     violation/deprivation of familial relations, Plaintiff’s allegations fail because even
24
     taking Plaintiff’s allegations as true, the force used by the deputies of assisting the
25
     U.S. Post Office Police “in the process of restraining” to handcuff Mr. Wear was
26
     de minimus and objectively reasonable under the circumstances. There are no
27
     specific facts alleged that are “so egregious, so outrageous, that it may fairly be
28
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 1   said to shock the contemporary conscience.” Cnty. of Sacramento, 523 U.S. at 847
 2   n.8 (1998); FDIC, 940 F.2d at 474 (9th Cir. 1991); Mullins, 57 F.3d at 793 (9th
 3   Cir. 1995). (Emphasis added.) See Exhibit C- Dkt. 1 Complaint ¶ 10-15.
 4          As to the Defendant Sheriff’s deputies, the only force Plaintiff alleges is that
 5   the deputies assisted U.S. Post Office Police whom were already “in the process of
 6   restraining” to handcuff Mr. Wear.     4
                                                There are no allegations that the deputies
 7   punched, kicked, tasered, pepper-sprayed, shot, etc. Mr. Wear. See Exhibit C- Dkt.
 8   1 Complaint ¶ 10-15.
 9          Further, there is no such thing as “lethal restraints,” and the mere use of that
10   term   or   allegation   that   handcuffs     caused   “cardiac   arrest”   are   mere
11   conclusions/speculation and not a factual allegations sufficient to state a claim.
12          Indeed, the Ninth Circuit has long recognized that “[h]andcuff application is
13   common,” police may use handcuffs in the course of an investigation and the mere
14   act of placing an arrested suspect in handcuffs is not inherently unreasonable and
15   does not in and of itself constitute excessive force. Saunders v. Knight, 2007 WL
16   3482047, *16 (E.D. Cal. 2007); Cannon v. City of Petaluma, 2012 WL 1183732,
17   *9 (N.D. Cal. 2012) (citing Robinson v. Solano County, 278 F.3d 1007, 1013 (9th
18
     Cir.2002)); United States v. Bautista, 684 F.2d 1286, 1289 (9th Cir. 1982), citing
19
     United States v. Thompson, 597 F.2d 187, 190 (9th Cir. 1979), and United States v.
20
     Purry, 545 F.2d 217, 219-20 (D.C. Cir. 1976)).
21
            The mere handcuffing of an individual does not, in and of itself, violate the
22
     individual's constitutional rights. Rather, liability under 42 U.S.C. § 1983 for
23
     excessive force based upon handcuffing lies only where various other factors are
24
     present, such as the individual being either in visible pain, complained of pain,
25
     alerted the officer to pre-existing injuries, asked to have the handcuffs loosened or
26
27   4
    To the extent Plaintiff argues Defendant deputies used additional force besides
28 mere assistance with handcuffing, Plaintiff does not allege such in the Complaint.
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 1   released, “and/or alleged other forms of abusive conduct in conjunction with the
 2   tight handcuffing.” Shaw v. City of Redondo Beach, 2005 WL 6117549, at * 7
 3   (CD. Cal. 2005). There are no such allegations here. Accordingly, Defendant
 4   Sheriff’s deputies share no liability for excessive force, battery, assault,
 5   negligence, or wrongful death as a matter of law.
 6          Further, the factual allegations of the deputies mere assistance with
 7   handcuffing fall far below the standard to “shock the conscious” required to state a
 8   substantive due process violation/deprivation of familial relations (42 U.S.C. §
 9   1983) claim. Cnty. of Sacramento, 523 U.S. at 847 n.8 (1998).
10   C.     PLAINTIFF’S SECOND CLAIM FOR MONELL LIABILITY MUST
11   BE DISMISSED
12        1. PLAINTIFF’S SECOND CLAIM FOR MONELL LIABILITY FAILS
13           TO STATE SUFFICIENT FACTS DESCRIBING THE
             UNCONSTITUTIONAL CONTENT OR SPECIFIC NATURE OF
14           DEFENDANT COUNTY’S POLICIES/TRAININGS
15          Defendant respectfully requests that the Court dismiss Plaintiff’s fourth and
16   fifth claims for Monell liability against Defendant COLA pursuant to Federal Rule
17   of Civil Procedure 12(b)(6) for failure to state a claim.
18          To establish Section 1983 Monell liability, plaintiffs must have sufficiently
19   alleged that: “(1) they were deprived of their constitutional rights by defendants
20   and their employees acting under color of state law; (2) that the defendants have
21   customs or policies which amount to deliberate indifference to their constitutional
22   rights; and (3) that these policies are the moving force behind the constitutional
23   violations.” Lee v. City of Los Angeles, 250 F.3d 668, 681–82 (9th Cir. 2001). A
24   policy or custom is considered a “moving force” behind a constitutional violation
25   if both causation-in-fact and proximate causation can be established. Inman v.
26   Anderson, 294 F.Supp.3d 907, 920 (N.D. Cal. 2018) (citing Harper v. City of L.A.,
27   533 F.3d 1010, 1026 (9th Cir. 2008).
28
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 1         It is well-established under precedential and controlling authority that
 2   merely generically alleging inadequate or unconstitutional training, policies and
 3   procedures is simply insufficient to state a Monell claim. See Ashcroft v. Iqbal, 556
 4   U.S. 662, 681 (2009); Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996).
 5
           Plaintiff’s boilerplate Monell claim fails to satisfy the fact-pleading standard
 6
     under Starr because it only contains legal conclusions, and does not contain
 7
     sufficient facts of the content or specific nature of the County’s policies that
 8
     allegedly caused Plaintiff’s constitutional violations. Plaintiff has also failed to
 9
     state facts sufficient to allege that Defendant COLA’s policies were the “moving
10
     force” behind the alleged deprivations they suffered aside from mere conclusions.
11
           A bare allegation that the deputies’ conduct conformed to some unidentified
12
     government policy or custom does not satisfy the fact pleading standard under
13
     Starr. A.E. ex rel. Hernandez v. County of Tulare, 666 F.3d 631, 636 (9th Cir.
14
     2012). Rather, Plaintiff’s complaint must include factual allegations that plausibly
15
     suggest an entitlement to relief, such that it is not unfair to require the opposing
16
     party to be subjected to the expense of discovery and continued litigation. Id.
17
           The allegations should specify the content of the policies, trainings, customs,
18
     or practices which give rise to Plaintiff’s constitutional injuries. Mateos-Sandoval
19
     v. County of Sonoma, 942 F. Supp. 2d 890, 900 (N.D. Cal. 2013). “[M]erely
20
     stating the subject to which the policy relates (i.e. excessive force) is insufficient.”
21
     Cain v. City of Sacramento, No. 2:17-CV-00848-JAM-DB, 2017 WL 4410116, at
22
     *1 (E.D. Cal. Oct. 4, 2017) (citing A.E., 666 F.3d at 637).
23
           In A.E., plaintiff brought a Monell claim against the County of Tulare
24
     alleging that it maintained a policy which caused injury to A.E., a minor in the
25
     foster care system.    Plaintiff’s Monell allegations were entirely conclusory in
26
     nature and lacked any factual basis that plausibly suggested an entitlement to relief.
27
     Plaintiff alleged that defendants performed all acts and omissions regarding A.E.’s
28
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 1   foster care “under the ordinances, regulations, customs, and practices of Defendant
 2   County of Tulare.” Id. at 636–37.
 3          Like this case, the A.E. complaint also generally alleged that defendants
 4   “‘maintained or permitted an official policy, custom or practice of knowingly
 5   permitting the occurrence of the type of wrongs’ that it elsewhere alleged [in the
 6   complaint].” Id. at 637 (citations omitted). The complaint “did not put forth
 7   additional facts regarding the specific nature of this alleged ‘policy, custom or
 8   practice,’ other than to state that it related to ‘the custody, care and protection of
 9   dependent minors.’” Id. The court held that the language failed to meet the
10   pleading standard under Starr and that the district court’s motion to dismiss was
11   properly granted. Id.
12          Like in A.E., Plaintiff in this case summarily alleges that Defendants have an
13   “official policy, custom, or practice” of knowingly permitting the occurrence of the
14   type of wrongs that they elsewhere alleged elsewhere in the complaint. Id.
15          Here, Plaintiff uses the same vague and conclusory language that the A.E.
16   court found insufficient under Starr to withstand a motion to dismiss as a matter of
17   law.   For example, Plaintiff vaguely and generally concludes that Defendants
18
     COLA had various inadequate “training and supervision” but allege no facts, only
19
     conclusions, making it impossible to ascertain what specific policy, training,
20
     practice Plaintiff is talking about. See generally Exhibit C- Dkt. 1 Complaint ¶ 48-
21
     60. Plaintiff does not identify the actual content, existence or location of any such
22
     alleged unconstitutional policy, practice, or custom.
23
            Indeed, in some instances Plaintiff’s allegations are irrelevant/inapplicable.
24
     For example, Plaintiff alleges that past Los Angeles County Sheriff’s deputies have
25
     engaged in “sexual misconduct,” or “On April 19, 2018, Daniel Lollis was the
26
     victim of excessive force and unnecessarily arrested by LASD deputies during a
27
     traffic stop,” “Jury found in favor of inmates that LASD deputies used excessive
28
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 1   force to remove the inmates from their cells,” or “In January 2010, COUNTY
 2   agreed to pay a Plaintiff $900,000 to a prisoner who lost his foot due to LASD
 3   inadequate medical care,” all of which have nothing to do with the instant case. See
 4   generally Exhibit C- Dkt. 1 Complaint ¶ 31-43.
 5         Read collectively, Plaintiff’s Monell allegations are mere conclusions, after
 6   conclusions, after reference to a completely unrelated sporadic incident via
 7   inadmissible newspaper or magazine hearsay with no context or declaration as to
 8   the substance of the article, followed by more conclusions, none of which are
 9   sufficient alone to allege Monell liability.
10         Merely alleging that bad actors employed by Defendant COLA have
11   engaged in sporadic misconduct and such is tied to a pattern of bad-behavior by the
12   individuals in this case is insufficient as any entity will no doubt have bad actors.
13   “Liability for improper custom may not be predicated on isolated or sporadic
14   incidents; it must be founded upon practices of sufficient duration, frequency and
15   consistency that the conduct has become a traditional method of carrying out
16   policy.” Trevino v. Gates, 99 F.3d 911, 918 (9th Cir. 1996).
17         Further, newspaper articles have consistently been held to be inadmissible
18
     hearsay. Larez v. City of Los Angeles, 946 F.2d 630, 642-43 (1991) (holding that
19
     statements in newspaper articles are “erroneously admitted hearsay”); Dallas
20
     County v. Commercial Union Assurance Co., 286 F.2d 38, 391-92 (5th Cir. 1961)
21
     (newspaper article is hearsay, and in almost all circumstances is inadmissible);
22
     Horta v. Sullivan, 4 F.3d 2, 8 (1st Cir. 1993) (newspaper article is inadmissible
23
     hearsay and cannot be used to prove the truth of the reported facts); Eisentstadt v.
24
     Centel Corp., 113 F.3d 738, 742 (7th Cir. 1997) (newspaper article was an “out-of
25
     court statement offered to prove the truth of its contents”).
26
           Plaintiff also deficiently alleges entirely fact-deficient and boilerplate
27
     allegations of conclusions that the County maintained a policy or custom of
28
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 1   inadequately supervising, training, and disciplining sheriff’s deputies, See Exhibit
 2   C- Dkt. 1 Complaint ¶ 23, 31-43, but fails to factually explain how any such
 3   policy, practice, or training regarding discipline, training, use of force, etc. was
 4   inadequate. Plaintiff’s other Monell allegations are similarly conclusory. These
 5   allegations may give notice as to the general nature of the alleged policy, but
 6   provide insufficient facts to give notice as to the specific nature of the policy. See
 7   A.E., 666 F.3d at 637.
 8         Merely alleging inadequate policies does not meet the pleading standards
 9   under A.E. In Mendy v. City of Fremont, No. C-13-4180 MMC, 2014 WL 574599
10   (N.D. Cal. Feb. 12, 2014), plaintiffs alleged that the defendant city “failed to
11   adequate[ly] train its officers in the proper use of force in the course of their
12   employment as peace officers.” Id. at *1 (internal quotation marks omitted). The
13   A.E. court held that this allegation “fail[ed] to identify, even minimally, how the
14   City’s training with respect to the use of force is deficient.” Id; accord Canas v.
15   City of Sunnyvale, No. C 08-5771 JF PSG, 2011 WL 1743910 (N.D. Cal. Jan. 19,
16   2011) (dismissing Plaintiff’s Monell claim, holding that “Plaintiffs do not explain
17   in detail how the [Defendant’s] alleged policies or customs are deficient, nor do
18
     they explain how the alleged policies or customs caused harm to Plaintiffs and
19
     Decedent.”).5 In the absence of such an allegation, the court could not determine if
20
     a plausible claim is made under Monell and dismissed the claim. Mendy, 2014 WL
21
     574599, at *1.
22
           Plaintiff’s Monell allegations in the case at bar are substantially similar to
23
     the allegations in Mendy.       Plaintiff’s Complaint states forceful, boilerplate
24
     language and conclusions such as alleging excessive force, unlawful detention,
25
     inadequate discipline, etc. Exhibit C- Dkt. 1 Complaint ¶ 23, 34, 36. These terms,
26
     5
    Defendants do not argue that Plaintiff must specify the alleged policies in detail.
27
   Plaintiff must simply allege sufficient facts, not boilerplate conclusory allegations,
28 as to the policies’ content and specific nature. See A.E., 666 F.3d at 637.
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 1   however, are mere legal conclusions and not entitled to a presumption of truth. See
 2   Ashcroft v. Iqbal, 556 U.S. 662, 681 (2009); Trevino v. Gates, 99 F.3d 911, 918
 3   (9th Cir. 1996).
 4         Plaintiff’s allegations are insufficient to give the County notice which
 5   policies are allegedly constitutionally deficient. The allegations give the County no
 6   information to search, identify, and analyze these unidentified policies to
 7   determine if, perhaps, they are in fact constitutionally deficient; and if so,
 8   encourage the County to seek settlement with Plaintiff, avoiding costly and time-
 9   consuming litigation. The allegations give the County no basis to defend the
10   Monell allegations because it has no idea what specific policy it is defending.
11         In contrast to this case, in Mateos-Sandoval, the plaintiff alleged that county
12   defendants routinely enforced a particular provision of the California Vehicle Code
13   by “seizing and impounding vehicles on the basis that the driver does not have a
14   current, valid California driver’s license, including when the vehicle was not
15   presenting a hazard or a threat to public safety [and] keeping the vehicle [even
16   though] someone was available to pay the impound fee to date, usually for the 30
17   day period specified by [the provision] […].” 942 F. Supp. 2d at 899–900. The
18
     district court applying A.E. found that the plaintiff alleged sufficient facts to
19
     support a Monell claim. Id. at 900.
20
           Plaintiffs in Mateos-Sandoval specified the content of the policies that gave
21
     rise to their constitutional injuries. See Id. at 899. The defendants in that case
22
     were thus able to investigate the claim, determine its truthfulness, mount a defense
23
     against it, or pursue settlement.     These identifying facts are not present in
24
     Plaintiff’s Complaint.
25
           An allegation of excessive force or other constitutional violation is a legal
26
     conclusion, not a fact. It is the facts that support an inference of excessive force
27
     that are required to defeat a motion to dismiss; a bare allegation of excessive force
28
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 1   is not enough. Alleging a policy of excessive force is similarly deficient. A bare
 2   allegation of a policy of excessive force no more entitles Plaintiff to a presumption
 3   of truth as to their Monell claim than a bare allegation of excessive force would
 4   entitle a plaintiff to a presumption of truth as to an excessive force claim. It is the
 5   facts that matter—not the label of excessive force.
 6
        2. PLAINTIFF’S MONELL CLAIM FAILS TO STATE FACTS
 7         SUFFICIENT TO ALLEGE THE COUNTY’S POLICIES WERE THE
 8         MOVING FORCE BEHIND HIS CONSTITUTIONAL
           DEPRIVATION
 9
           To show “moving force,” Plaintiff must state facts sufficient to allege that
10
     the county’s policies were the cause-in-fact and proximate cause of the injuries.
11
     Dougherty v. City of Covina, 654 F.3d 892, 900 (9th Cir. 2011). To survive a Rule
12
     12(b)(6) motion, it is insufficient for Plaintiff to merely allege that “Defendant
13
     [County’s] policies and/or customs caused the specific violations of Plaintiff’s
14
     constitutional rights at issue in this case.” Id. Plaintiff must do more than allege
15
     “Defendant [County]’s polices and/or customs were the moving force and/or
16
     affirmative link behind the violation of the Plaintiff’s constitutional rights and
17
     injury, damage and/or harm caused thereby.” Id.
18
           In this case, Plaintiff fails to do just that. Plaintiff fails to plead facts
19
     sufficient to suggest the County’s allegedly deficient policies or trainings, even if
20
     they exist, caused their injuries because Plaintiff fails to plead any facts about
21
     those policies or trainings at all. For example, “New York City had an
22
     unconstitutional “Stop and Frisk” policy No. 1,2 and 3 for minorities, plaintiff (a
23
     minority) was stopped and frisked in New York City pursuant to such policy in
24
     absence of any other justification. Even if such turns out to be incorrect, the
25
     hypothetical Plaintiff stated facts sufficient to potentially draw a nexus.
26
            As to the Monell claim, Plaintiff solely and in conclusory fashion merely
27
     states various unrelated conclusions about alleged unconstitutional customs and
28
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 1   then alleges that “The aforesaid policies, customs, practices and usages described
 2   in this Complaint were the moving force that caused DECEDENT and Plaintiff to
 3   be subjected to the unconstitutional acts of Defendant DOE Deputies on December
 4   7, 2018.” See Exhibit C- Dkt. 1 Complaint ¶ 42.
 5         However, Plaintiff fails to state facts sufficient to connect that even if these
 6   vague alleged policies or practices exist ex. inadequate medical care in jails, how
 7   did they in any logical way become the “moving force” that caused Plaintiff’s
 8   injuries on December 7, 2018? This is the same conclusory language, lacking in
 9   factual content that the Dougherty Court rejected as insufficient to survive a Rule
10   12(b)(6) motion. See Dougherty, 654 F.3d at 900–901. Plaintiff also makes
11   several boilerplate allegations that, in sum, attempt conclude that sheriff’s deputies
12   were inadequately trained and supervised without describing the specific
13   inadequate training at issue, how such was inadequate, and how such inadequate
14   training was the “moving force” behind Plaintiff’s injuries. See Exhibit C- Dkt. 1
15   Complaint ¶ 23.
16         While Plaintiff recites the causation element in their Complaint, “[they]
17   provide[] no facts that indicate that any of the [Defendant’s] actions were caused
18
     by the alleged customs, policies, or practices.” Bagley v. City of Sunnyvale, No. 16-
19
     CV-02250-LHK, 2017 WL 344998, at *1 (N.D. Cal. Jan. 24, 2017) (citing
20
     Dougherty, 654 F.3d at 900.)
21
           Plaintiff has also failed to state facts sufficient to allege a constitutional
22
     violation “resulting from an employee acting pursuant to an expressly adopted
23
     official policy, or an employee acting pursuant to a long-standing practice […].”
24
     Schiff v. City and County of San Francisco, 816 F. Supp. 2d 798, 810 (N.D. Ca.
25
     2011). Beyond the bare allegation that Defendant COLA had either actual or
26
     constructive knowledge that deputies engaged in unconstitutional conduct and
27
     were deliberately indifferent, Plaintiff fails “to allege any facts to supporting a
28
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 1   finding that [Defendants COLA and Does 1–10] had knowledge of the alleged
 2   constitutional violations before the violations ceased.” Mendy, 2014 WL 574599,
 3   at *4.
 4            In addition to the reasons stated above, dismissing Plaintiff’s Monell claim
 5   would also significantly reduce the costs of discovery and litigation trying to figure
 6   out what, specifically, Plaintiff is referring to, in addition to judicial time and
 7   resources for various discovery motions.
 8
              Unnecessarily conducting discovery and litigating an amorphous Monell
 9
     claim with no clear facts and a “fishing expedition” would give the Court far more
10
     issues to rule on during discovery and at the summary judgment phase and trial.
11
     For the foregoing reasons, the County respectfully requests the Court properly
12
     dismiss Plaintiff’s second claim for municipal liability, which Plaintiff refused to
13
     dismiss or even amend after meet and confer efforts.
14
     V.       CONCLUSION
15
              For the foregoing reasons, Defendant COLA respectfully requests that this
16
     Court grant its motion to dismiss as requested herein, pursuant to Federal Rules of
17
     Civil Procedure 12b(6).
18

19
     Dated: May 14, 2020                     IVIE McNEILL WYATT
20                                           PURCELL & DIGGS
21
                                       By:   /s/ Antonio K. Kizzie
22
                                             RICKEY IVIE, ESQ.
23                                           ANTONIO KIZZIE, ESQ.
                                             JACK ALTURA, ESQ.
24                                           Attorneys for Defendants,
                                             COUNTY OF LOS ANGELES, et al.
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                                         Page 19
     ______________________________________________________________________________
       DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS PLAINTIFF’S
                              COMPLAINT FOR DAMAGES
 Case 8:20-cv-00459-JVS-DFM Document 14 Filed 05/14/20 Page 27 of 28 Page ID #:94



 1
                           DECLARATION OF ANTONIO K. KIZZIE
 2

 3   I, ANTONIO K. KIZZIE, declare and state as follows:

 4            1.      I am an attorney at law duly licensed and admitted to practice before

 5   all courts of the State of California, in the United States District Court for the

 6   Central, Northern, Eastern and Southern Districts of California, United States

 7   District Court of Colorado, the District of Columbia Court of Appeals, the United

 8   States District Court for the District of Columbia, and the United States Supreme

 9   Court.        I am a senior associate with the law firm of Ivie McNeill Wyatt Purcell

10   and Diggs, APLC attorneys of record for Defendants COUNTY OF LOS

11   ANGELES, et.al. in this case.          The foregoing facts are within my personal

12   knowledge and, if called as a witness herein, I can and will competently testify

13   thereto.
14            2.      This declaration is made in support of Defendant County of Los
15   Angeles’ Motion to Dismiss Plaintiff’s Complaint for Damages.
16            3.      On December 17, 2018, Los Angeles County Coroner Department
17   Deputy Medical Examiner Matthew D. Miller, MD determined that Mr. Wear died
18   of “methamphetamine toxicity.” A true and correct copy of the Los Angeles
19   County Coroner Department Deputy Medical Examiner Matthew D. Miller, MD’s
20   autopsy report is attached hereto as Exhibit A.
21            4.      This motion is made following the meet and confer conferences of
22   counsel pursuant to L.R. 7-3, which took place telephonically on May 7, 2020. A
23   true and correct copy of correspondence confirming such is attached hereto as
24   Exhibit B. Plaintiff refused to amend the Complaint, and will oppose the instant
25   motion.
26            5.      A true and correct copy of Plaintiff’s Complaint for Damages is
27   attached hereto as Exhibit C.
28            I declare under penalty of perjury under the laws of the State of California
                                         Page 20
     ______________________________________________________________________________
       DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS PLAINTIFF’S
                              COMPLAINT FOR DAMAGES
 Case 8:20-cv-00459-JVS-DFM Document 14 Filed 05/14/20 Page 28 of 28 Page ID #:95



 1   that the foregoing is true and correct. This Declaration was executed on May 14,
 2   2020 in Los Angeles, California.
 3                                /s/ Antonio K. Kizzie
 4                               ANTONIO K. KIZZIE,
                                       Declarant
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     ______________________________________________________________________________
       DEFENDANT COUNTY OF LOS ANGELES’ MOTION TO DISMISS PLAINTIFF’S
                              COMPLAINT FOR DAMAGES
